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9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:14-CR-0303MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) [PROPOSED] ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     SESAR PRADO, AND                   )
15
     RAMON GARCIA PRADO                 )
16                                      ) Date: 5-20-2016
                      Defendant.        ) Time: 9:00 a.m.
17   ________________________________) Judge: Hon. Garland E. Burrell, Jr.
18
            Plaintiff United States of America, by and through its counsel of record, and
19

20
     defendants Sesar Prado and Ramon Prado, by and through their counsels of record,

21   hereby stipulate as follows:
22
            1.      By previous order, this matter was set for status April 22, 2016.
23
            2.      By this stipulation, defendant now moves to continue the status
24

25   conference until May 20, 2016, and to exclude time between April 22, 2016 and May
26
     20, 2016, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the
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1    following:
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            a.      The government has represented that the discovery associated with this
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     case includes investigative reports, search warrant affidavits, judgment and commitment
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5    records, CD’s and DVD’s, and RAP sheets of the defendants. All of this discovery has
6
     been either produced directly to counsel and / or made available for inspection and
7
     copying. Recently, the government provided new discovery involving hours of wire tap
8

9    recordings.

10          b.      Counsel for defendants desire additional time to complete the review of
11
     the new discovery, to conduct defense investigation, and to discuss potential resolutions
12

13
     with their clients. Counsel has also been continuing to engage in pre-trial negotiations

14   with the government and otherwise prepare for trial.
15
            c.      Counsel for defendants believe that failure to grant the above-requested
16
     continuance would deny them the reasonable time necessary for effective preparation,
17

18   taking into account the exercise of due diligence.
19
            d.      The government does not object to the continuance.
20
            e.      Based on the above-stated findings, the ends of justice served by
21

22   continuing the case as requested outweigh the interest of the public and the defendant in

23   a trial within the original date prescribed by the Speedy Trial Act.
24
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
25
     § 3161, et seq., within which trial must commence, the time period of April 22, 2016 to
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27   May 20, 2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
28
     B(iv) [Local Code T4] because it results from a continuance granted by the Court at


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1    defendant’s request on the basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendant in a speedy
3
     trial.
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5             4.      Nothing in this stipulation and order shall preclude a finding that other
6
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
7
     from the period within which a trial must commence.
8

9    IT IS SO STIPULATED.

10

11   Dated: April 20, 2016                              Respectfully submitted,
12
                                                        /s/ Kelly Babineau
13                                                      KELLY BABINEAU
14
                                                        Attorney for Ramon Prado

15
     Dated: April 20, 2016                              /s/ Dina Santos
16
                                                        DINA SANTOS
17                                                      Attorney for Sesar Prado
18

19
     Dated: April 20, 2016                              /s/ Christiaan Highsmith
20
                                                        CHRISTIAAN HIGHSMITH
21                                                      Assistant U.S. Attorney

22
                                              ORDER
23

24            IT IS SO FOUND AND ORDERED.
25   Dated: April 21, 2016
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